                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.,

                      Plaintiffs,                            Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                      Defendant.



       JOINT MOTION TO EXTEND DEADLINE FOR FILING OF JOINT
              SUBMISSION ON DISCOVERY SCHEDULING

       NOW COME the Parties in this matter and, jointly, move this Court for a seven (7)

day extension of time within which to file a Joint Submission addressing the Parties’

positions on discovery. Under this Court’s Order of June 10, 2020, [ECF #28] providing

for Expedited Discovery, the Court ordered this submission to be made on June 22, 2020.

The Parties jointly request until June 29, 2020, within which to make this submission.

       The grounds for this Motion are that, as suggested by the Court in its Order, the

Parties are in the process of meeting and conferring over whether consolidation under

Fed.R.Civ.P. Rule 65(a)(2) is appropriate and, if so, the terms and conditions under which

such consolidation (and a longer period of discovery) could occur. The Parties believe that

the extension of the present Joint Submission deadline by seven days will permit them to

continue their discussions and determine whether they can arrive at an agreement on




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consolidation. If so, then the Parties would intend to submit a consolidation order and

schedule to the Court, along with any necessary orders. If the Parties are unable to reach

an agreement on consolidation, then the Joint Submission would occur. In all other

respects, the Parties are in compliance with this Court’s June 10, 2020 Order.

      WHEREFORE, the Parties jointly request that this Court extend the deadline for

Joint Submission presently due on June 22, 2020, to and including June 29, 2020.

      Respectfully submitted this 22 day of June 2020.

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